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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

FRANK FARRO, JR.,

             Plaintiff,                                   Case No. 19-cv-13311
                                                          Hon. Matthew F. Leitman
v.

AMERAPLAN et al.,

          Defendants.
__________________________________________________________________/

                ORDER REQUIRING PLAINTIFF TO SERVE
                DEFENDANT WITH NOTICE OF HEARING

      On February 28, 2022, Plaintiff Frank Farro, Jr. filed a motion for an

evidentiary hearing to enter a default judgment against Ameraplan. (See Mot., ECF

No. 43.) The Court has now issued a Notice of Hearing setting Farro’s motion for

an in-person hearing on August 1, 2022, at 9:00 a.m. (See Notice of Hearing, ECF

No. 44.)

      By no later than July 1 2022, Farro shall serve Ameraplan with (1) the Notice

of Hearing on his motion for an evidentiary hearing to enter a default judgment, (2)

this order, and (3) a proposed default judgment.

      In addition, by no later than July 1, 2022, Farro shall file a Certificate of

Service on the docket confirming that he has served Ameraplan with these

documents.


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      Finally, by no later than July 1, 2022, Farro shall submit the proposed default

judgment to the Court through the Utilities function of CM/ECF.

      IT IS SO ORDERED.

                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE
Dated: June 24, 2022

       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on June 24, 2022, by electronic means and/or
ordinary mail.


                                      s/Holly A. Ryan
                                      Case Manager
                                      (313) 234-5126




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